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           UNITED STATES DISTRICT COURT
         EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA
                                   Honorable Eduardo C. Robreno

v.

                                         2:16-cr-00130-ER
CHARLES M. HALLINAN




     EMERGENCY MOTION FOR BAIL PENDING APPEAL
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      Charles M. Hallinan, through his undersigned attorneys, respectfully submits

this emergency motion for bail pending appeal. This motion is urgent because the

Defendant, a 77 year old man, is due to report to the Bureau of Prisons on July

17th, 2018, which will interrupt life-saving treatment he is currently undergoing for

bladder cancer and will delay the prostate cancer treatment he is expected to begin

before his report date. Counsel is mindful of the fact that many of these arguments

were already raised before the District Court in requesting a report-date for the

Defendant, but raises them again because the procedural posture has changed. Due

to the urgent nature of the request, counsel also intends to concurrently file a

motion for bail pending appeal in the Third Circuit so that in the event the Court

denies this request, it will already be fully briefed in the Circuit and can be decided

before his report date.

      Bail pending appeal is appropriate for three reasons: (1) Mr. Hallinan has

two forms of life-threatening cancer complicated by his age and an underlying

coronary heart disease and a transfer to the Bureau of Prisons will delay and

disrupt his treatment and endanger his life; (2) there are substantial issues on

appeal for which a reversal, new trial, or resentencing is likely; and (3) Mr.

Hallinan is not a risk of flight or danger to the community.
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I.       SUBMITTING HIMSELF TO THE CUSTODY OF THE BUREAU OF PRISONS
         WILL ENDANGER MR. HALLINAN’S LIFE

         A.    Mr. Hallinan Has Two Aggressive and Life Threatening Cancers
               Complicated By An Underlying Heart Condition For Which One
               Misstep Could Be Fatal
         The evidence is uncontroverted that Mr. Hallinan is suffering from two

forms of very aggressive cancer in his bladder and prostate, which is complicated

even more due to his underlying heart condition. See [Dkt. 493, Exhibit B (report

of Dr. David Ellis) (hereinafter “Ellis Report”)]. Mr. Hallinan is not only being

treated by Dr. Ellis, but a team of specialists including Dr. Peter Gordon Spitzer,

the Chief of Urology at the Hospital of University of Pennsylvania. Dr. Spitzer

concurs that Mr. Hallinan has “both a high-grade T1 bladder cancer [and] high-risk

prostate cancer.” See Sentencing Memorandum, Exhibit J.

         In order to treat the bladder cancer, Mr. Hallinan is currently undergoing a

six-week chemotherapy treatment that cannot be interrupted. As noted by Dr.

Ellis:

         The bladder cancer is most worrisome and will initially require a first
         course of chemotherapy administered by direct foley catheterization
         of the urethra (penis) and bladder with direct instillation of
         chemotherapeutic agent performed once per week under sterile
         conditions. Close observation and then immediate treatment for 24-48
         hours follows for side effects of infection, nausea, bleeding, retention,
         respiratory symptoms, and early detection of tuberculosis among
         others.

Id. Following the expected six-week course of treatment, Mr. Hallinan will have a

cystoscopy and biopsy in an operating room with full anesthesia to assess how he
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is responding to treatment so that a decision can be made as to whether he

undergoes the same treatment again or whether it should be modified. Id. Dr. Ellis

states that he also requires “regular and frequent radiologic testing (CT scan, MRI,

blood analysis, urine pathology analysis) in addition to both bladder and prostate

testing).” Id. Dr. Ellis stresses that “the key is to have regular and frequent

treatments and follow ups to catch [the bladder cancer] before spreading.” Id. If

Mr. Hallinan were to report to the Bureau of Prisons, this six-week course of

treatment will be interrupted, directly contravening Dr. Ellis’s medical advice.

      Following or simultaneous to the treatments for bladder cancer, treatments

for the prostate cancer will require monthly hormone injections and then most

likely radiation therapy depending on the progress of the bladder cancer. Id.

Radiation will be administered for 44 daily treatments. Id. This too is further

complicated by Mr. Hallinan’s cardiac issues, for which “[h]is cardiologist will

need regular and frequent involvement with the patient and the other treatment

physicians of the treatment team to achieve correct results.”

      Dr. Justin Bekelman, a Professor and Doctor at the Perelman School of

Medicine – Hospital of the University of Pennsylvania, at the Abramson Cancer

Center, concurred and laid out the following treatment plan: “1. We will obtain the

prostate path for review. 2. We will obtain an MRI. 3. We will coordinate with

Dr. Guzzo and Dr. Ellis (local urologist) regarding BCG [a type of chemotherapy

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treatment]; 4. We will start androgen suppression with Dr. Ellis; androgen

suppression could continue for 3 to 9 months while BCG and other local treatments

for his bladder cancer are given . . . and then, after some recovery period and

response assessment, we can consider radiation therapy or alternative[] strategies

based on the clinical situation at that time.” Sentencing Memorandum, Exhibit K.

      Mr. Hallinan will require a team of doctors to treat his numerous and life-

threatening medical issues, which includes a “urologist, radiation oncologist,

medical oncologist, [and] internist.” Ellis Report, at 2. Dr. Ellis cautions as to

what could happen if there is any disruption or delay in Mr. Hallinan’s testing or

treatment:

      I remain concerned that even a small delay in testing, treatment,
      biopsy or observation will allow the bladder cancer to escape local
      control. Subsequent spreading of disease create a metastatic situation
      that will not likely be curable. . . . I emphasize that Mr. Hallinan
      suffers an unusual, complicated and challenging circumstance. He
      has two localized aggressive high risk cancers that will require
      intensive involvement to keep from spreading. A mis-step will
      greatly increase the chance that spread will occur. A mis-step can
      allow spread to go undetected so that secondary interventions will
      become useless. Spread can happen quickly and require a high degree
      of diligence.

Id.




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      B.     Forcing Mr. Hallinan To Interrupt His Chemotherapy And
             Submit Himself To The Custody Of The Bureau Of Prisons
             Would Endanger Mr. Hallinan’s Health
      As noted by Dr. Ellis, “even a small delay” in Mr. Hallinan’s treatment or

testing will allow the bladder cancer to spread. If that happens, according to Dr.

Ellis’s uncontested opinion, it may no longer be curable. There will be much more

than a “small delay” if Mr. Hallinan is transferred to the Bureau of Prisons. The

record is completely barren of any evidence as to how Mr. Hallinan’s medical

needs would be met and it is uncontested that his treatment would be severely

disrupted. Having been given weeks to submit an “expert” report and secure a

witness to testify about the Bureau of Prison’s evaluation of Mr. Hallinan’s case

and the treatment plan it would provide for a 77 year old man with two forms of

aggressive cancer, the government submitted a three-page form letter. It submitted

no evidence as to whether the Bureau of Prisons has medical professionals who

have any experience treating such complicated and unusual set of conditions; it

submitted no evidence showing that any medical provider at the Bureau of Prisons

had even reviewed his records; it submitted no evidence as to how a transfer to the

Bureau of Prisons would not cause immediate and dangerous repercussions to Mr.

Hallinan’s health (which it would); it submitted no evidence that anyone in the

government had spoken to Mr. Hallinan’s treating providers (which they have not);

it submitted no evidence that the Bureau of Prisons had formulated any kind of


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treatment plan or even how Mr. Hallinan would be evaluated by so many

specialists; it submitted no evidence as to whether it has the diagnostic equipment

necessary to treat such a complicated set of conditions; it submitted no evidence

that it is currently treating anyone of such age with such complicated diagnosis –

or even that it has ever in the history of the Bureau of Prisons successfully treated a

similar case without significant missteps that imperils the individual’s life.

      The evidence is also unrefuted that the Bureau of Prisons faces extreme staff

shortages, lack of access to qualified medical providers, lack of financial resources,

and administrative problems in even getting patients to their doctor appointments

such as lock-downs or the failure to have adequate personnel to drive inmates to

their appointments. Defendant’s two experts produced unopposed testimony that

the Bureau of Prisons has a long track record of giving substandard care to

inmates. Phillip S. Wise, former Assistant Director of the Federal Bureau of

Prisons with responsibility for Health Care for the agency, certified under oath in

his report that it is likely a mis-step will occur over Mr. Hallinan’s possible

treatment by the Bureau of Prisons due to “its difficulty maintaining clinical staff,

its staff shortages in other departments, [] its administrative requirements for

specialty care, . . [and] delay of care due to institution emergencies or

administrative or security requirements.” [Dkt. 493, Exhibit A, hereinafter “Wise

Report”]. Maureen Patricia Baird, who worked for the Bureau of Prisons for 28

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years and was a warden at multiple prisons, flatly said that the Bureau of Prisons

would not be able to care for Mr. Hallinan when asked if any Federal Medical

Center could properly treat Mr. Hallinan given his age and medical conditions:

      In all due respect to the Bureau of Prisons, I would have to say that,
      because he does fall into the one percent of chronically ill, of the most
      chronically ill individuals that would be in the Bureau of Prisons,
      there would be some missteps along the line. And therefore, to
      manage him with appropriate care, I would have to say no. Would
      they try their best? They would try. But there would be
      circumstances beyond the Bureau of Prisons’ control that, no fault of
      their own, there would – would happen, and there would be missteps. .
      ..

Sentencing Tr. at 71.

      If forced to report to the Bureau of Prisons, Mr. Hallinan will be the sickest

1% of all inmates. Wise Report at 4. This will be complicated further by his age

as “the BOP is ill equipped to effectively manage the needs of elderly inmates.”

Id. at 5. Moreover “the scope of care and his access to medical specialists will be

more limited,” and “consistent chronic care may be disrupted or not provided on a

timely basis.” Id. The only documentary evidence forwarded by the government

to support its argument that the Bureau of Prisons can effectively care for a

seventy-seven year old with two aggressive forms of cancer and underlying heart

disease was a three-page form letter used in every federal case that says in sum that

the Bureau of Prisons can handle anything without any individualized assessment

of Mr. Hallinan’s case. Sentencing Hearing, Gov’t Exhibit 1. The government’s


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witness who testified in support of this letter had not spoken to Mr. Hallinan’s

doctors; had only skimmed his medical reports – apparently finding it too difficult

to spend the time to read them all; had not spoken to any medical providers at

Butner or any other medical facility about Mr. Hallinan’s complicated medical

condition; never worked in Butner of another medical facility (but had toured it

once); and could not say if the Bureau of Prisons had ever treated anyone as sick as

a 77 year old man with two forms of aggressive cancer and an underlying heart

condition. The kind of care Mr. Hallinan will likely receive from the Bureau of

Prisons is embodied in the government’s witness: someone who only skims

medical records and signs form letters because of busy schedules and staffing

issues. This does not comport with the goals of sentencing, due process, or the

right for Mr. Hallinan to be free from cruel and unusual punishment. As noted by

the Supreme Court in Estelle v. Gamble:

      These elementary principles establish the government’s obligation to
      provide medical care for those whom it is punishing by incarceration.
      An inmate must rely on prison authorities to treat his medical needs; if
      the authorities fail to do so, those needs will not be met. . . . [D]enial
      of medical care may result in pain and suffering which no one
      suggests would serve any penalogical purpose. The infliction of such
      unnecessary suffering is inconsistent with contemporary standard of
      decency as manifested in modern legislation codifying the common
      law view that “it is but just that the public be required to care for the
      prisoner, who cannot, by reason of the deprivation of his liberty, care
      for himself.

429 U.S. 97 (1976) (citations omitted).


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      In sum, not only will there be an absolute disruption in Mr. Hallinan’s

current chemotherapy treatment, the government has made no showing that the

Bureau of Prisons could ever adequately care for him. The Defendant, however,

put forth two experts – one who testified under oath and the other who submitted a

report under oath – that the Bureau of Prisons simply cannot care for Mr. Hallinan.

It is clear what will likely happen with the delays and missteps: Mr. Hallinan’s

bladder cancer may spread and prostate cancer may worsen leaving any doctor

without other treatment options. Although not mentioned by the government’s

expert at the sentencing hearing, the Bureau of Prisons does have a hospice facility

in Springfield, Missouri.

II.   BAIL PENDING APPEAL IS APPROPRIATE
      18 U.S.C. § 3143(b) requires a judicial officer to detain a defendant

sentenced to a term of imprisonment unless: (1) the person is not likely to flee or

pose a danger; and (2) that the appeal is not for the purpose of delay and raises a

“substantial question of law or fact” that is likely to result in a reversal, new trial,

or a reduced term of imprisonment. Here, not only would bail pending appeal

likely prolong Mr. Hallinan’s life, but the requirements of § 3143(b) are easily met.

      A.     The Appeal Raises Substantial Questions Of Law

      The issues Mr. Hallinan intends to raise on appeal are substantial – i.e.

“fairly debatable.” United States v. Miller, 753 F.2d 19 (3d Cir. 1985); United


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States v. Smith, 793 F.2d 85 (3d Cir. 1986). These issues will include: (1) the

government’s use of the July 2013 privileged email at trial when the Third Circuit

had already found that it was protected work product and failed to meet the crime-

fraud exception; (2) the Court’s failure to fashion a sentence that takes into account

Mr. Hallinan’s serious, life-threatening medical conditions; and (3) the failure to

instruct the jury on willfulness for the RICO counts in light of the Defendant’s

good faith defense. Mr. Hallinan may raise additional arguments on appeal, but

any one of these three issues alone is a substantial ground to warrant bail.

             1.    The Government’s Use of the July 2013 Privileged Email In
                   The Grand Jury And At Trial Is Reversible Error
      As this Court is aware, during the grand jury investigation Mr. Hallinan’s

accountant produced a July 2013 email, which contained legal advice from

attorney and codefendant Wheeler Neff that was then forwarded to Mr. Ermel by

Mr. Hallinan. The government successfully moved before the grand jury Judge to

allow it to present the email to the grand jury under the crime fraud exception to

the attorney client privilege. Mr. Hallinan immediately appealed. The Third

Circuit reversed the decision of the grand jury Judge, holding “that the crime-fraud

exception to the attorney work-product doctrine does not apply to the email at

issue.” In re Grand Jury #3, 847 F.3d 157 (3d Cir. 2017). The Circuit went on to

suggest that the mere act of using the email in the grand jury would call for a new

trial unless the government showed the error was harmless. Id. at 15 (“None of
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this should suggest that, in the event Doe is convicted (based on the superseding

indictment) and appeals, he should automatically get a new trial because the

Government used the protected work product. That is because the Government

could avoid a retrial by showing the error was harmless.”). In other words, the

only reason why the government’s use of the privileged email would not cause a

reversal is if the government could show harmless error. The government new the

risk it was taking in using that email and took it on proudly:

      But getting back to the hypothetical possibility that [the indictment]
      could be tainted, that’s entirely our risk. That would cause us
      potential harm, I suppose, presumably Mr. Hallinan would seek to
      dismiss the indictment and that’s really a risk that it’s up to us to
      decide whether we want to take that risk. We’ve looked at the law,
      we feel comfortable with our facts. We believe it’s worth taking the
      risk to present this e-mail.

Emergency Motion to Stay, Transcript of Oral Argument (July 16, 2015).

      The government did much more, however, than simply present the email

before the grand jury – it used the email at trial to secure Mr. Hallinan’s

conviction. Shortly before the trial began, the government moved in limine for an

order to use the email at trial. Although it acknowledged that the Third Circuit

found that the email did not meet the crime fraud exception, it argued that there

were now amorphous “tax crimes” that the attorney-client advice furthered. It was

not clear as to what those crimes actually were or how the July 2013 email related




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to those crimes. The Court nonetheless granted the government’s motion, allowing

the email to be used at trial despite the Third Circuit’s earlier ruling.

      The email, government Exhibit 400, was integral to the government’s case.

It was used numerous times throughout the trial and extensively in the opening and

closing. See, e.g. Tr. at 42 (9.28.17) (opening) (“You’re going to hear that Mr.

Neff even sends Hallinan an e-mail, where Mr. Neff instructs Hallinan to go back

and change the old tax returns . . . .”); id. at 44 (opening) (“There is an e-mail

where Mr. Neff warned Mr. Hallinan that the case could be worth $8 to $10

million and Mr. Hallinan might have to pay that.”); id. at 45 (opening) (“A lot of

the evidence you’ll see in the case will be the defendants’ own words. Mr.

Hallinan’s emails, Mr. Neff’s e-mails . . . .”); Tr. at 66-92 (10.5.17) (testimony of

Rod Ermel discussing the e-mail at length); Tr. at 140-41 (11.20.2017) (closing)

(displaying the email to the jury and characterizing it as anything but “garden

variety legal advice”); id. at 165 (“Wheeler Neff indicated to Charles Hallinan, in

that July 12, 2013 e-mail, that Charles Hallinan faced exposure of $8 to $10

million.”); id. at 167 (“There’s the July 16 e-mail that Charles Hallinan sent to Rod

Ermel, which forms the basis of Count 7 . . . .”); id. at 106 (“This is the email, July

12th, 2013 email that Wheeler Neff sent to Charles Hallinan warning him of a $10

million judgment potentially and saying essentially, cook the books . . . .”). It was

also an overt act included by the government in the Indictment itself.

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      The government has only recently enumerated the “tax crimes” to which it

was referring in its motion in limine. It is clear why the government took so long

to give a straight answer. None of the “crimes” that the government cites, to the

extent they even are crimes, were furthered by the forwarding of the July 2013

email to Mr. Ermel. In its opposition to Wheeler Neff’s motion to bail pending

appeal that was filed in the Third Circuit, the government cited three crimes that it

believes were furthered by the July 2013 email: (1) a scheme to willfully fail to

file taxes of Apex 1 Processing; (2) the representation to the IRS in 2015 that Mr.

Hallinan did not own Apex 1 Processing; and (3) the failure to amend Mr.

Hallinan’s tax returns for 2009 to 2012 if he did own Apex 1 Processing, which the

government submitted he did not. Id. at 7-8, 14. To the extent these explanations

make sense – and the last does not at all - these are simply post hoc rationalizations

with a temporal disconnect to the July 2013 legal advice contained in the email.

      First, the email did not further a scheme to willfully fail to file taxes for

Apex 1 Processing. There is nothing in the July 2013 email as to whether tax

returns should or should not be filed for Apex 1 Processing. Indeed, there is

nothing at all in evidence that Mr. Neff ever told Mr. Ermel to not file taxes for

Apex 1 Processing. The email was about amending tax returns – not filing or

failing to file new returns. It also is noteworthy that Apex 1 Processing stopped




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doing business in which case most of the tax returns about which the government

claims would have solely been informational returns.

      Second, the email did not further the crime of making false representations

to the IRS during a 2015 audit (presumably the government is referring to a

violation of 18 U.S.C. § 1001). It is perplexing to say the least how Mr. Neff’s

legal advice in July 2013 for Mr. Hallinan to consider amending his tax returns,

could have furthered a misrepresentation to the IRS in 2015. The email was not

shown to the IRS certainly during that audit nor referenced in any way. When Mr.

Neff’s legal advice was forwarded to Rod Ermel in 2013, no one – not even the

IRS – knew that it would be conducting an audit in 2015. And there is no evidence

that the email was used in any way as part of that audit.

      Finally, the government’s third argument is completely ridiculous. It posits

that if Mr. Hallinan did sell Apex 1 Processing to Randall Ginger (which the

government submits did not happen), then Mr. Hallinan committed a crime in not

amending his own tax returns to remove Apex 1 Processing. Thus, in the

Indictment the government takes the position that Mr. Hallinan always owned

Apex 1 Processing and it should have appeared on his taxes after 2013; but for

purposes of this argument the government argues that Mr. Hallinan did sell Apex 1

Processing to Randall Ginger and should have amended his tax returns to reflect

that sale. Thus, the government’s premise is diametrically opposite with its own

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charging decisions. Maybe even simpler, the government’s arguments make no

sense as it is not a crime to not amend your taxes. See, e.g., Broadhead v.

Commissioner, 14 T.C.M. 1284 (1955) (rejecting the government’s position that

the taxpayer evaded taxes for not filing an amended return); Badaracco v.

Commissioner, 464 U.S. 386 (1984) (“[T]he Internal Revenue Code does not

explicitly provide either for a taxpayer’s filing or for the Commissioner’s

acceptance of an amended return . . . . .”); Taylor v. C.I.R., 1997 WL 739055 (Nov.

17, 1997) (“The failure to file amended returns does not evince an intent to evade

taxes.”). Indeed, if Congress made it a crime, it would raise serious Fifth

Amendment concerns. See Marchetti v. United States, 390 U.S. 39 (1968) (finding

it unconstitutional to prosecute a gambler for failing to report his gambling

earnings when faced with criminal prosecution for failing to pay gambling taxes).

       The government’s attempts to bundle all of these issues into these

ambiguous “tax crimes” fails because its central premise about the email is

incorrect. The government falsely claims that “Ermel [] testified that every action

he took from July 16, 2013, with regard to the preparation and filing of Hallinan

and Apex 1’s tax returns, was traceable to the email he had received on July 16,

2013, from Hallinan.” Gov’t Resp. at 14. The opposite is true – Mr. Ermel

testified consistently that the email did not prompt any action other than him

putting it in a file with a flag on it:

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       Q. As a result of Mr. Hallinan forwarding that email beginning on July the
       12th, 2013, you didn’t do anything as a result of that, am I correct?

       A. Other than just put it in my file and have a little red flag that something
       needs to be done at some point in time.

Tr. at 197 (10.5.17); see also Tr. at 91-92 (10.5.17) (R. Ermel) (testifying that he

never spoke to Mr. Hallinan after receiving the July 2013 email). Ermel also

testified that he did not even fully review Neff’s legal advice in the July 2013

email and that he “skimmed over” it because “those type of things, that’s foreign to

me.” Tr. at 81 (10.5.17). It is hard for the legal advice to further some fraud when

Mr. Ermel does not even comprehend it.

       Counsel understands that the Court already made its rulings on the

admissibility of the July 2013 email, but given the Third Circuit’s opinion and

order, its note that even the use of the email in the grand jury could lead to reversal

unless the government showed harmless error, the contravention of the Third

Circuit’s holding by actually using the email at trial, and the government’s suspect

“tax crimes” rationale that the government came up post hoc, it can at least be said

that this is a substantial issue that is fairly debatable.

              2.     It Was Error For The Court To Discount The Defense’s
                     Bureau of Prisons Experts At The Sentencing Hearing
       As described in more detail above, the government did not carry its burden

of proving that the Bureau of Prisons can care for Mr. Hallinan given its

conclusory evidence only stating that the BOP can generally treat oncology

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patients. Mr. Hallinan submitted letters from multiple doctors evidencing his

incredibly serious medical conditions. Once Defendant presents proof of a serious

medical issue – the burden shifts to the government to “assure the court that the

Bureau of Prisons (“BOP”) can adequately care for” the defendant given his or her

specific needs. United States v. Martin, 363 F.3d 25, 50 (1st Cir. 2004). The

government’s “proof” consisted of a three-page form letter whose only reference to

Mr. Hallinan is recounting his medical condition, and a witness who knew almost

nothing about Mr. Hallinan’s medical conditions or the ability for the Bureau of

Prisons to treat a 77 year old with multiple, severe infirmities; and everything she

did know came from a short call with another Bureau of Prisons witness that was

supposed to testify, but who had a scheduling conflict (much like Mr. Hallinan

would experience if in the custody of the Bureau of Prisons).

      In stating its opinion of the expert testimony, this Court discounted the

Defendant’s experts, stating that the testimony was “a little general” and did not

connect the Bureau of Prisons’ inadequacies to Mr. Hallinan’s case. Sentencing

Tr. at 126. Defendant’s evidence was anything but general. Both the Defendant’s

written expert report and the testimony that was presented specifically addressed

Mr. Hallinan’s medical condition and the Bureau of Prisons ability to adequately

treat Mr. Hallinan. The defense experts actually read Mr. Hallinan’s medical

records – unlike the government’s expert witness. And while the government

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submitted a three-page form letter, the defense submitted a 25 page expert report,

15 pages of medical records, and citations to multiple audits by the Inspector

General, National Institute of Corrections, and the United States General

Accounting Office. Defense also forwarded the personal experience of a former

warden and twenty-nine year veteran of the Bureau of Prisons, and the former

Assistant Director of the Federal Bureau of Prisons with responsibility for the

Health Care of inmates. Both consistently said or wrote under penalty of perjury

that the Bureau of Prisons cannot take care of Mr. Hallinan without significant

delays and, in Dr. Ellis’s words, missteps that will endanger his life. In short, the

government’s “evidence” was paltry and non-specific, and the Defendant’s

evidence was fulsome and focused on Mr. Hallinan’s specific medical issues.

      Moreover, the Court’s decision as to whether the Bureau of Prisons could

adequately treat Mr. Hallinan and/or to what facility he would be sent seems to

have been informed by an ex parte communication with counsel for the Bureau of

Prisons. Early in the sentencing hearing, the prosecutor made reference to

conversations he had had with the regional counsel for the Bureau of Prisons and

remarked that he knew the Court had been in contact with the same person.

Sentencing Tr. at 124, 203. Defense counsel has no idea what was conveyed to the

Court by the Bureau of Prisons and does not mean to attribute any inappropriate

intent to the communication, but an ex parte call to the Bureau of Prisons

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concerning the matters at issue in the sentencing hearing (e.g. whether the BOP can

adequately treat Mr. Hallinan; to what facility he would be sent; the procedures the

BOP would employ; etc) is a violation of Mr. Hallinan’s due process rights. See

United States v. Hayes, 171 F.3d 389 (6th Cir. 1999) (holding that District Court

committed plain error when it considered ex parte victim letters in sentencing);

United States v. Green, 544 F.2d 138 (3d Cir. 1976) (noting that ex parte

communications are disfavored, and affirming the sentence only because they

“were put on the record by the court, and full opportunity existed for cross-

examination”); United States v. Craven, 239 F.3d 91 (1st Cir. 2001) (“In general,

the law frowns upon ex parte communications between judges and court-appointed

experts.”) (holding that if the sentencing court desires additional information from

an expert it must make a request for a supplemental report or bring the expert into

court to be questioned in the presence of the parties). To be clear, like the First

Circuit in Craven, “[w]e do not doubt the trial judge’s good intentions,” but we

respectfully submit it was nevertheless error to consult with the Bureau of Prisons

before or during the sentencing hearing about the issues at the core of that hearing.

      In short, the Court committed error and failed to give sufficient

consideration to the Defendant’s mitigation evidence, which seems to have been

partly informed by an ex parte call with the Bureau of Prisons. It wholly

discounted Defendant’s experts and embraced the government’s “expert” evidence,

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which consisted of a general form letter and a witness that had no specific

information about how the Bureau of Prisons would treat Mr. Hallinan. Doing so

was reversible error. See United States v. Olhovsky, 562 F.3d 530 (3d Cir. 2009)

(reversing sentence that “appear[ed] inconsistent” with the expert medical

testimony other than that of the government which consisted of a three-page report

and a witness who did not even speak to the Defendant’s treating doctor). Again,

at the very least, it is a substantial matter about which reasonable jurists could

disagree.

             3.     The District Court Erred In Failing To Charge The Jury on
                    Willfulness
      Finally, an additional issue that Defendant plans to raise on appeal is the

Court’s failure to instruct the jury on willfulness for the RICO counts. Prior to the

jury charge, both Defendants requested that the Court instruct the jury that to

violate the RICO counts, one must act willfully, i.e. with at least a general

understanding that the loans violated the usury laws. The Court initially included

the charge, but then removed it. Citing the Third Circuit Model Criminal Jury

Instruction, the Court only charged the jury on knowingly and intentionally.

However, the commentary to the Model Jury Instructions specifically states that in

cases where Liporata v. United States, 471 U.S. 419 (1985) applies, the term

“’knowingly’ [has] a different meaning than” that given in the instruction. See

Third Circuit Model Criminal Jury Instruction No. 5.02, comment at 10. The
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comment says that in that kind of case, the type of knowledge required to commit

the offense “is similar to the most frequently used definition of ‘willfully.’” Id.

      As charged in the Indictment, the collection of an unlawful debt under RICO

is a case where Liporata applies and the term knowingly should have included

instructions that the Defendant must act willfully. Liporata concerned a Defendant

convicted of food stamp fraud, which made it a crime to knowingly possess or

transfer food stamps in any manner not authorized by statute. Id. The government

posited that “knowingly” only pertained to the first clause – the transfer of food

stamps, and it need not prove that the Defendant knew the transfer of food stamps

was unauthorized. The Supreme Court noted that criminal offenses lacking mens

rea “have a generally disfavored status,” and that particularly in light of the rule of

lenity, the statute should be read such that the government must prove that the

Defendant knew that his possession or transfer of food stamps was unauthorized.

Thus, “knowingly” should be interpreted to apply to both the transfer and also that

the transfer was unauthorized.

      RICO lacks a mens rea requirement. Genty v. Resolution Trust Corp., 937

F.2d 899, 908 (3d Cir. 1991) (“The RICO statute itself is silent on the issue of

mens rea and its legislative history offers no illumination of the congressional

intent on this point.”). Moreover, “[o]n its face, the definition [of a RICO

enterprise] appears to include both legitimate and illegitimate enterprises within its

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scope; it no more excludes criminal enterprises than it does legitimate ones.”

United States v. Turkette, 452 U.S. 576, 580-81 (1981). In particular, it would be

unjust to punish a defendant who collects a debt that he later learns was unlawful

or turned out to be unlawful. The Court’s charge, however, was only that the

defendant must act knowingly, i.e. “that the defendant was conscious and aware of

the nature of his actions . . . .”; and intentionally, i.e. “it was the defendant’s

conscious desire or purpose to act in a certain way.” Tr. at 58 (11.20.17). Just as

in Liporata, where the Court failed to instruct the jury that the Defendant generally

knew that the transfer of food stamps was contrary to law, here the jury charge did

not include language that Mr. Hallinan knew that the loans were usurious. Such a

construction is untenable as it would criminalize defendants who had no idea of the

usury laws or that he was acting unlawfully. Just as in Liporata, the jury should

have been charged on willfulness – that the Defendant generally knew of the

unlawful nature of his acts. See United States v. Irizarry, 341 F.3d 273 (3d Cir.

2003) (“The district court properly instructed the jury that the government is

required to prove ‘the defendant knowingly and willfully conducted or participated

in the conduct of the enterprise's affairs through a pattern of racketeering activity,’

as an element of its RICO charge.”); United States v. Gjeli, 2015 WL 1573369, at 8

(E.D. Pa. 2015) (“At most, therefore, the government was required to prove that

the defendants had knowledge of the generally unlawful nature of the particular

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loans in question and also that it was the practice of the lenders to make such

loans.”); United States v. Diecidue, 603 F.2d 535, 548 (11th Cir. 1979) (same).

      Yet again, at the very least, this issue is substantial and one over which fair

minds can debate.

      B.     Mr. Hallinan Is Not A Risk Of Flight Or Danger To The
             Community

      Notwithstanding the Court’s findings at the sentencing hearing, Mr. Hallinan

is not a flight risk. The Court stated that it viewed Mr. Hallinan as a flight risk in

part because of his lengthy, 168-month, sentence, which the Court assumed Mr.

Hallinan did not expect. Sentencing Tr. at 210. Mr. Hallinan, however, did know

that was a strong possibility: the April Presentence Report calculated a guidelines

range of life imprisonment (indeed given Mr. Hallinan’s age any lengthy sentence

may effectively be a life sentence); the government requested that Mr. Hallinan

receive a sentence within the guidelines; and Mr. Hallinan’s co-defendant, Wheeler

Neff received a sentence of eight years’ imprisonment. Moreover, even in the face

of the lengthy sentence received by Mr. Neff, the government stated in response to

Mr. Neff’s Third Circuit request for bail that “[t]here is no dispute that Neff does

not present a risk of flight or danger, and that the appeal is not for purpose of

delay.” Gov’t Resp. to Bond Motion, at 3. Every indication by probation, the

government, and the Court indicated that he would receive a lengthy sentence and


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yet Mr. Hallinan appeared as he did every day of the trial, every court conference,

and every visit to probation.

      Moreover, Mr. Hallinan already has a set of conditions that will assure that

he will not flee. Indeed, the Court already found that even though it viewed Mr.

Hallinan as a risk a flight, “stringent conditions may be imposed pursuant to 18

U.S.C. § 3142(c) that will reasonably assure his appearance.” [Dkt. 507]. Namely,

Mr. Hallinan has put up a $1,000,000 bail secured by his home and $100,000 in

cash. The government is wrong in arguing that the home has been forfeited and

thus cannot be used as collateral. Mr. and Mrs. Hallinan own the home equally as

tenants of the entireties. As such the government is prevented from selling or

otherwise evicting Mrs. Hallinan from their home. Mrs. Hallinan has, by signing

the bail, put her interests up in the home and any misstep by Mr. Hallinan would

cause it to be lost. Additionally, Mrs. Hallinan has agreed to be a custodian of Mr.

Hallinan, again to be responsible if he were to flee. Mr. Hallinan also has an ankle

bracelet and is subject to daily, unannounced visits by probation.

      Finally, Mr. Hallinan has the most stringent bail condition imaginable: his

life. As the Court is aware and as described above, Mr. Hallinan is undergoing

intensive treatment for two aggressive cancers and an underlying heart condition.

As noted by Dr. Ellis, he requires a team of doctors to manage his infirmities and




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the slightly delay will imperil his life. If Mr. Hallinan were to flee and interrupt

this treatment, his life would be in danger.

                                  CONCLUSION

      For all of the reasons stated above, Mr. Hallinan respectfully requests that

the Court release him on bail pending appeal. He is not a flight risk, the issues on

appeal are substantial, and submitting to the custody of the Bureau of Prisons will

interrupt his cancer treatment and will endanger his life. To the extent the Court

has already ruled on many of these issues and is inclined to deny the motion,

Defendant requests that the motion be heard expeditiously so as to allow an appeal

to the Third Circuit.




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                         CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing was served

upon all counsel of record in this case by filing on the Court’s Electronic Case

Filing System on July 10, 2018.



                                       By:          s/ Michael M. Rosensaft
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